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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,               :   CASE No. 1:20-cr-00042
                                        :
                                        :
                                        :   (Judge Rambo)
            v.                          :
                                        :   (Chief Magistrate Judge Schwab)
PRINCETON FLAGG-GARRETT,                :
                                        :
            Defendant.                  :

                                   ORDER
                                 August 3, 2020


      For the reasons set forth in the Memorandum filed concurrently with this

Order, IT IS ORDERED that Flagg-Garrett’s Motion for Review of Detention

Order Pursuant to 18 U.S.C. § 3145(b) (doc. 19) is DENIED.


                                            S/Susan E. Schwab
                                            Susan E. Schwab
                                            Chief United States Magistrate Judge
